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                                                                                                     09/08/2017
                          UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

IN RE:
IEDA Enterprise, Inc.                                         Case No. 11-43726 btr
825 Avenue K                                                  Chapter: 7
Plano, TX 75074
EIN: XX-XXXXXXX
Debtor


              ORDER VACATING CLOSING ENTRY AND REOPENING CASE

       Came on to be considered the fact that the above referenced case filed on December 12, 2011
was closed April 10, 2017. This case was closed erroneously; and,

    It is therefore ORDERED that the entry closing the case on April 10, 2017 is hereby
VACATED and the case is hereby REOPENED.



                                                              Signed on 09/08/2017

                                                                                                      SD
                                                HONORABLE BRENDA
                                                HONORABLE  BRENDA T.
                                                                  T. RHOADES,
                                                                     RHOADES,
                                                UNITED STATES
                                                UNITED STATES BANKRUPTCY
                                                              BANKRUPTCY JUDGE
                                                                          JUDGE
